SERIAL H 3710720 /EDIPI: 13994804 14. NON-CREDITABLE DELAYED ENARYrFRROGRAM TIME 20100803 ‘TO 10101017.:GOOD CONDUCT MEDAL. ~
PERIOD COMMENCES 20131018. MEMBER CONTRIBUTED $1200.00 TOWARDS. THE MGIB: WE

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purposes and to determine eligibility for;;and/or continued compliance with, the: fequnere of a Federal benefit program.

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20. MEMBER . REQUESTS COPY 6 BE: SENT. TO (Speci state/localify) = TX SH OFFE

 
   
 
 

 

 

     
 
 
 

 

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a, MEMBER REQUESTS COPY 3/BE SENT TO THE CENTRAL. OFFICE OF. THE DEPART
WASHINGTON; DC)= aye

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21a. MEMBER SIGNATURS ’¥YYYMMDD)

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N SHADED AREAS
— ALTERATIONS ENDER FORM VOID

This Report Contains Information Subject to the Privacy Act of 1974, As Amended
2. DEPARTMENT, COMPONENT AND BRANCH

| —=—_

1. NAME (Last, First, Middle) ~
NICHOLS. RYAN TAYLOR

 

ress if known)

— - USMC-11
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GRADE, RATE OR RANE / [be PAY GRADE: | 9 DATE OF BIRTH ;yyyyMMDD) |6. RESERVE en SENATE DATE
CPL | SE Sn EAD Sree 19901206 (YYYYMMDD) 20180802
7a. PLACE OF ENTRY INTO ACTIVE DUTY

b. HOME OF RECORD AT TIME OF ENTRY (City and state, or complete add

SHREVEPORT, LOUISIANA 71118

 

8a. LAST DUTY ASSIGNMENT AND MAJOR COMMAND

9TH COMM BN, CAMPEN (RUC 21670)
9. COMMAND TO WHICH TRANSFERRED

Commander, Marine Forces Reserve, 2000 Opelousas Ave., New Orleans, LA 7014

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v

    

b. STATION WHERE SEPARATED

515 YOUNER ROAD pIANA TX 75640

   
 

 
    

IPAC MCB CAMPEN (RUC 45500)
10. SGLICOVERAGE| __| NONE

AMOUNT: $ 400,000

 

 

 

    

 

 

 

 

     

 

 

 

 

 

 

 

 

143. DECORATIONS, MEDALS, BADGES, CITATIONS AND CAMPAIGN

RIBBONS AWARDED OR AUTHORIZED (All periods of service)
MARINE CORPS GOOD CONDUCT MEDAL, GLOBAL WAR ON

TERRORISM SERVICE MEDAL, NATIONAL DEFENSE SERVICE MEDAL,
SEA SERVICE DEPLOYMENT RIBBON, EXPERT RIFLE QUALIFICATION

BADGE (4)

 

45a. COMMISSIONED THROUGH SERVICE ACADEMY
b. COMMISSIONED THROUGH ROTC SCHOLARSHIP (10 USC Sec. 2107b)

 

 

11. PRIMARY SPECIALTY (Li oe ONTH(S)
. | (List number, title and years and months in YEAR(S) | M [ DAY(S)
specialty. List additional specialty numbers and titles involving penods of 12, RECORD OF SERVICE "lie
one or more years.) a. DATE ENTERED AD THIS PERIOD é M0104 SSI pL Uae sca
0612, TACTICAL SWITCHING OPERATOR (PMOS), 01 YEAR, 05 MONTHS | }. SEPARATION DATE THIS PERIOD |) 20145 al soLORS " | La, mud Ss
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2. TOTAL PRIOR INACTIVE SERVICE |<" 00. ey | Sah 00s : ol bi | 00%.
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h. INITIAL ENTRY TRAINING tar 00 <= zl 04 2 Le
|. EFFECTIVE DATE “OF PAY GRADE [5 2012" 05 *> Oe

 

14. MILITARY EDUCATION (Course title, number a weeks, and nonth and
year comple ted)
COMMUNICATIONS

(BND ne CATIONS ANTENNA SYSTEMS APPRENTICE ( DCONTD)

(CGA), 05/2011

CABLE AND ANTENNA SYSTEMS APPRENTICE

TNO

NO
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YES
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c. ENLISTED UNDER LOAN REPAYMEN

16. DAYS ACCRUED LEAVE | 17. MEMBER WAS PROVIDED CC
PAID = 35 DENTAL SERVICES AND TREAT

48: REMARKS -

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PLETE DENTAL EXAMINATION AND ALL APPROPRIATE
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'(OLL- FREE 1-800-255- 5082) INFORMED.

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USPECIAL ADDITIONS INFORMATION ‘(For use by authonzed agencies only)~

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23. TYPE OF SEPARATION pues soar Rare oe ae CHARACTER OS See ce (incidde, oe §

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25. SEPARATION AUTHORITY ~~ tea ‘| 26. SI 26. SEPARATION es eS |(273 REENTRY CODE pe

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28. NARRATIVE REASON FOR SEPARATION.» < ae aft ae Se Ee = eee SENOS oe
COMPLETION OF REQUIRED ACTIVE SERVICE 7) 9 ee ee
29. DATES C OF TIME Gee enn THIS PERIOD es Pr ee eee
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—— MEMBER. A

DD FORM 214, AUG 2009

PREVIOUS EDITION IS OBSOLET E

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